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IN THE UNITED STATES DISTRICT COURT nina’ Loe ;
FOR THE SOUTHERN DISTRICT OF OHIO :
EASTERN DIVISION

  

UNITED STATES OF AMERICA,

 

Plaintiff, : JUDGE
V. : INFORMATION
MICHAELA SAMUEL, >: 21 U.S.C. §§ 841(a)(1) and (b)(1)(A)(v)
Defendant. : FORFEITURE

 

THE UNITED STATES ATTORNEY CHARGES:
COUNT 1
[Possession with Intent to Distribute a mixture or substance
containing a detectable amount of Lysergic Acid Diethylamide (LSD)|
On or about August 3, 2020, in the Southern District of Ohio, the defendant, MICHAELA
SAMUEL, knowingly and intentionally possessed with intent to distribute 10 grams or more of a

mixture or substance containing a detectable amount of Lysergic Acid Diethylamide (LSD), a

Schedule I controlled substance, in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(A)(v).

FORFEITURE ALLEGATION
1. The allegations of this Information are realleged and by this reference fully
incorporated herein for the purpose of alleging forfeiture to the United States of America pursuant
to the provisions of 21 U.S.C. § 853(a)(1) and (2).
2. Upon conviction of the offense in violation of 21 U.S.C. § 841 as alleged in Count
One of this Information, the defendant, MICHAELA SAMUEL, shall forfeit to the United States
all right, title and interest in any property constituting, or derived from, proceeds obtained, directly

or indirectly, as a result of such violations, and any property used, or intended to be used, in any
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manner or part, to commit, or to facilitate the commission of the violations, including, but not
limited to, the following: Approximately $13,557.00 in United States currency seized on or about
August 3, 2020, during the execution of a search warrant on a motel room used by the defendant,
MICHAELA SAMUEL.

Forfeiture pursuant to 21 U.S.C. § 853(a)(1) and (2) and Rule 32.2 of the Federal
Rules of Criminal Procedure.

VIPAL J. PATEL
ACTING UNITED STATES A RNEY

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SHEILA G. LAFFBRTY (0042394)
‘Stant United States Attorney
